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                              UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON


 DICA DIETZSCHOLD, an individual and               Case No. 3:22-cv-00989-SB
 GRACE DIETZSCHOLD, an individual,

                Plaintiffs,
        v.

 CITY OF PORTLAND, a municipal                     SECOND JOINT MOTION FOR
 corporation; BRENT MAXEY, an                      EXTENSION OF DISCOVERY AND
 individual, and JOHN DOES, unknown                PRETRIAL DEADLINES
 individuals,

                 Defendants.

                                   LR 7-1 CERTIFICATION

       The undersigned certifies that counsel for the parties have conferred about this motion and

that the parties are proceeding jointly to request the proposed extension in the motion below.

                                            MOTION

       In accordance with Fed. R. Civ. P. 6(b), LR 16-3 and LR 29, the parties ask the Court for

an order extending the current deadlines. The current discovery deadline is November 29, 2023,

and the parties request that this date be extended to April 30, 2024. The current dispositive

P a g e | 1 SECOND JOINT MOTION FOR EXTENSION                          CAMBRELENG & MARTON LLC
            OF DISCOVERY AND PRETRIAL DEADLINES                                 3518 S Corbett Ave.
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motion deadline is January 29, 2024, and the parties request that this date be extended to July 31,

2024. The additional deadlines would remain as stated in the Court’s prior order (expert

disclosures and reports due no later than 30 days after final ruling on dispositive motions;

rebuttal disclosures and reports due two weeks later; deadline for expert depositions to be set

after final ruling on dispositive motions; deadline for Joint Alternate Dispute Resolution Report

to be set after final ruling on dispositive motions, if any).

                                         MEMORANDUM

        On May 26, 2023, Plaintiff Dica Dietzschold, mother of Plaintiff Grace Dietzschold,

passed away unexpectedly. On May 30, 2023, the parties agreed to put this case on a brief hold

to allow Plaintiff Grace Dietzschold time to grieve the loss of her mother and deal with the

probate of her mother’s estate. In August 2023, the parties agreed to continue discovery on

behalf of Grace Dietzschold and move forward with scheduling depositions. A stipulated limited

dismissal of Plaintiff Dica Dietzschold was subsequently filed on August 31, 2023. Since then,

the parties have engaged in document discovery and exchanged documents. Prior to engaging in

depositions, the parties agreed to fulfill their ADR requirements by engaging in a judicial

settlement conference before Judge Jeff Armistead, which is scheduled for January 11, 2024.

Pending the outcome of the judicial settlement conference, the parties anticipate needing

additional time to conduct depositions, if the case does not settle. Additionally, plaintiff’s

counsel is going on maternity leave beginning in March 2024, and will return to the office full-

time in early summer. To allow for additional discovery to occur pending the outcome of the

judicial settlement conference, the parties respectfully request that the discovery and dispositive

motion deadlines be extended as stated herein.
P a g e | 2 SECOND JOINT MOTION FOR EXTENSION                            CAMBRELENG & MARTON LLC
            OF DISCOVERY AND PRETRIAL DEADLINES                                   3518 S Corbett Ave.
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       This motion is made in good faith and not for the purpose of delay. This is the parties’

second Motion for Extension of the discovery and dispositive motion deadlines. No trial date has

been set in this matter. The parties’ counsel jointly request this proposed extension.

                                         CONCLUSION

       For the foregoing reasons, the parties respectfully request that the Court enter a

scheduling order extending the discovery deadline as requested above.

       DATED this 17th of November, 2023.



 CAMBRELENG & MARTON LLC                           PORTLAND CITY ATTORNEY’S OFFICE

 /s/Ashley A. Marton                               /s/ Mallory R. Beebe
 Ashley A. Marton, OSB No. 171584                  Mallory R. Beebe, OSB No. 115138
 Of Attorneys for Plaintiffs                       Attorney for Defendants




P a g e | 3 SECOND JOINT MOTION FOR EXTENSION                           CAMBRELENG & MARTON LLC
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                               CERTIFICATE OF SERVICE

       I hereby certify that on this 17th day of November, 2023, I served the following

SECOND JOINT MOTION FOR EXTENSION OF DISCOVERY AND PRETRIAL

DEADLINES on the attorney(s) for defendants listed below via electronic means through the

Court’s Case Management/Electronic Case File system:

              Mallory R. Beebe, OSB No.
              Mallory.beebe@portlandoregon.gov
              Portland City Attorney’s Office
              1221 SW Fourth Avenue, Room 430
              Portland, Oregon 97204
              Attorney for Defendants


                                                  CAMBRELENG & MARTON LLC

                                            By:     /s/ Maxwell Joyner          _
                                                  Maxwell Joyner, Paralegal




P a g e | 4 SECOND JOINT MOTION FOR EXTENSION                        CAMBRELENG & MARTON LLC
            OF DISCOVERY AND PRETRIAL DEADLINES                               3518 S Corbett Ave.
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